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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MARYLAND
                                  BALTIMORE DIVISION

IN RE:                                           BCN#: 18-22226
MUNIRAH M. WHITE
       Debtor                                    Chapter: 7

NATIONSTAR MORTGAGE LLC D/B/A MR.
COOPER
and its assignees and/or                         MOTION FOR ORDER GRANTING RELIEF
successors in interest,                          FROM AUTOMATIC STAY
        Movant/Secured Creditor,
v.
MUNIRAH M. WHITE
        Debtor
and
ZVI GUTTMAN
        Trustee
        Respondents


       COMES NOW, Nationstar Mortgage LLC d/b/a Mr. Cooper, its assignees and/or

successors in interest, (Movant herein), by Counsel, alleges as follows:

       1.        This Court has Jurisdiction over this proceeding pursuant to 28 U.S.C.

Sections 157 and 1334 and 11 U.S.C. 362; Federal Rule of Bankruptcy Procedure

9014; and Local Bankruptcy Rule 4001-1(a), and that this matter is a core proceeding.

       2.        The above named Debtor(s) filed a Chapter 7 Petition in Bankruptcy with

this Court on September 14, 2018.

       3.        The Movant is the current payee of a promissory note secured by a

Purchase Money Deed of Trust upon a parcel of real property with the address of 7707

Abrams Lane, Glen Burnie, MD 21060 and more particularly described in the Purchase

Money Deed of Trust dated May 29, 2015 and recorded at Book 28475 at Page 442,

among the land records of the County of Anne Arundel, Maryland:

       All that property situate in Anne Arundel County, Maryland, and described as
       follows:


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       BEING KNOWN AND DESIGNATED as Lot No. 8, as shown on the Plat
       entitled "Plat 2 of 9, TANYARD COVE NORTH, Section 1A", which Plat is
       recorded among the Land Records of Anne Arundel County, Maryland, in Plat
       Book 324, folio 32-33.

       Copies of the Note and Purchase Money Deed of Trust are attached hereto,

marked as exhibits A & B and made a part hereof by reference.

       4.        This Movant is informed and believes, and based upon such information

and belief, alleges that title to the subject Property is currently vested in the name of the

Debtor(s).

       5.        As of September 18, 2018, the estimated outstanding obligations are:

Unpaid Principal Balance                                          $        497,208.68
Unpaid, Accrued Interest                                          $          8,925.21
Uncollected Late Charges                                          $              0.00
Mortgage Insurance Premiums                                       $              0.00
Taxes and Insurance Payments on behalf of Debtor                  $          2,304.43
Other Costs                                                       $              0.00
Less: Partial Payments                                            ($           110.16)
Minimum Outstanding Obligations                                   $        508,328.16

       6.        The Debtor is in default with regard to payments which have become due

under the terms of the aforementioned note and Purchase Money Deed of Trust.

       As of September 18, 2018, the Debtor is due for:

  Number of            From                      To                Monthly         Total Missed
    Missed                                                        Payment           Payments
  Payments                                                         Amount
       5             May 1, 2018         September 1, 2018     $2,826.46         $14,132.30
Atty Fees and Costs:                                                             $931.00
                                   Less partial payments (suspense balance):     ($110.16)
                                                               Total Payments:   $14,953.14

       7.        The Movant has elected to initiate foreclosure proceedings on the

Property with respect to the subject Purchase Money Deed of Trust, but is prevented by

the Automatic Stay from going forward with these proceedings.




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       8.        This Movant is informed and believes, and based upon such information

and belief, alleges that absent this Court's Order allowing this Movant to proceed with

the pending foreclosure, Movant's security will be significantly jeopardized and/or

destroyed.

       9.        ZVI GUTTMAN, has been appointed by this Court as the Chapter 7

Trustee in this instant Bankruptcy proceeding.

       10.       This Movant is informed and believes and, based upon such information

and belief, alleges that the Debtor has little or no equity in the property.

       WHEREFORE, Movant prays for an order granting relief from Automatic Stay,

and for such other relief as the Court deem proper.


Dated: September 20, 2018
                                           SHAPIRO & BROWN, LLP
                                           Attorneys for Movant

                                           By: /s/ Renee Dyson
                                           William M. Savage, Esquire
                                           Federal I.D. Bar No. 06335
                                           Kristine D. Brown, Esquire
                                           Federal I.D. Bar No. 14961
                                           Thomas J. Gartner, Esquire
                                           Federal I.D. Bar No. 18808
                                           Gregory N. Britto, Esquire
                                           Federal I.D. Bar No. 22531
                                           Renee Dyson, Esquire
                                           Federal I.D. Bar No. 15955
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                                     Certificate of Service


I hereby certify that on the 20th day of September, 2018, the following person(s) were served a
copy of the foregoing Motion for Order for Relief from Automatic Stay in the manner described
below:

Via CM/ECF Electronic Notice:

Adam M. Freiman                                               Debtor's Attorney
115 McHenry Ave
Suite B4
Baltimore, MD 21208

ZVI GUTTMAN                                                   Trustee
P.O. BOX 32308
Baltimore, MD 21282


Via First Class Mail, Postage Prepaid:

Munirah M. White                                              Debtor
7707 Abrams Lane
Glen Burnie, MD 21060




                                                   /s/ Renee Dyson
                                                   William M. Savage, Esquire
                                                   Kristine D. Brown, Esquire
                                                   Thomas J. Gartner, Esquire
                                                   Gregory N. Britto, Esquire
                                                   Renee Dyson, Esquire
                                                   Malcolm B. Savage, III, Esquire




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